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1                                                                                       HON. THOMAS O. RICE
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      jbaker@jmlawps.com
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      P.O. Box 130 – 124 3rd Ave S.W.
5     Ephrata, WA 98823
      (509) 754-2356
6
      Attorney for Defendants
7

8                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WASHINGTON
9

10     SHANNON MCMINIMEE,                                                       NO. 1:18-cv-03073 TOR

11                                   Plaintiff,                                 DEFENDANTS’ ANSWER TO
       v.                                                                       SECOND AMENDED
12                                                                              COMPLAINT AND DEMAND
       YAKIMA SCHOOL DISTRICT                                                   FOR JURY
13
       NO. 7, and JOHN R. IRION, in his
14     individual capacity,

15                                   Defendants.
16
                COME NOW the Defendants, Yakima School District and John R. Irion, by
17
      and through their attorneys of record and demand that his case be tried by a jury
18
      and enter this answer to Plaintiff’s Second Amended Complaint as follows:
19

20
      //

21    //

22    //
23
      //
24
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      Page -- 1                                                                                  Ephrata, WA 98823
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1                                      I.         PARTIES AND JURISDICTION
2
                1.        In answer to the allegations in paragraph 1 of the Second Amended
3
      Complaint, the Defendants ADMIT the same.
4
                2.        In answer to the allegations in paragraph 2 of the Second Amended
5
      Complaint, the Defendants ADMIT the same.
6

7               3.        In answer to the allegations in paragraph 3 of the Second Amended

8     Complaint, the Defendants ADMIT the same.
9
                4.        In answer to the allegations in paragraph 4 of the Second Amended
10
      Complaint, the Defendants ADMIT the same.
11
                5.        In answer to the allegations in paragraph 5 of the Second Amended
12
      Complaint, the Defendants ADMIT the same.
13

14              6.        In answer to the allegations in paragraph 6 of the Second Amended

15    Complaint, the Defendants ADMIT the same.
16
                7.        In answer to the allegations in paragraph 7 of the Second Amended
17
      Complaint, the Defendants ADMIT the same.
18
                                      II.       INTRADISTRICT ASSIGNMENT
19
                8.        In answer to the allegations in paragraph 8 of the Second Amended
20

21    Complaint, the Defendants ADMIT the same.

22                                                            III.      FACTS
23

24
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1               9.        In answer to the allegations in paragraph 9 of the Second Amended
2
      Complaint, the Defendants reassert their previous averments.
3
             10.          In answer to the allegations in paragraph 10 of the Second Amended
4
      Complaint, the Defendants ADMIT the same.
5
             11.          In answer to the allegations in paragraph 11 of the Second Amended
6

7     Complaint, the Defendants DENY the same.

8            12.          In answer to the allegations in paragraph 12 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             13.          In answer to the allegations in paragraph 13 of the Second Amended
11
      Complaint, the Defendants DENY the same.
12
             14.          In answer to the allegations in paragraph 14 of the Second Amended
13

14    Complaint, the Defendants DENY the same.

15           15.          In answer to the allegations in paragraph 15 of the Second Amended
16
      Complaint, the Defendants DENY the same.
17
             16.          In answer to the allegations in paragraph 16 of the Second Amended
18
      Complaint, the Defendants DENY the same.
19
             17.          In answer to the allegations in paragraph 17 of the Second Amended
20

21    Complaint, the Defendants DENY the same.

22           18.          In answer to the allegations in paragraph 18 of the Second Amended
23
      Complaint, the Defendants DENY the same.
24
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1            19.          In answer to the allegations in paragraph 19 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             20.          In answer to the allegations in paragraph 20 of the Second Amended
4
      Complaint, the Defendants DENY the same.
5
             21.          In answer to the allegations in paragraph 21 of the Second Amended
6

7     Complaint, the Defendants DENY the same.

8            22.          In answer to the allegations in paragraph 22 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             23.          In answer to the allegations in paragraph 23 of the Second Amended
11
      Complaint, the Defendants DENY the same.
12
             24.          In answer to the allegations in paragraph 24 of the Second Amended
13

14    Complaint, the Defendants DENY the same.

15           25.          In answer to the allegations in paragraph 25 of the Second Amended
16
      Complaint, the Defendants DENY the same.
17
             26.          In answer to the allegations in paragraph 26 of the Second Amended
18
      Complaint, the Defendants DENY the same.
19
             27.          In answer to the allegations in paragraph 27 of the Second Amended
20

21    Complaint, the Defendants DENY the same.

22           28.          In answer to the allegations in paragraph 28 of the Second Amended
23
      Complaint, the Defendants DENY the same.
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1            29.          In answer to the allegations in paragraph 29 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             30.          In answer to the allegations in paragraph 30 of the Second Amended
4
      Complaint, the Defendants DENY the same.
5
             31.          In answer to the allegations in paragraph 31 of the Second Amended
6

7     Complaint, the Defendants DENY the same.

8            32.          In answer to the allegations in paragraph 32 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             33.          In answer to the allegations in paragraph 33 of the Second Amended
11
      Complaint, the Defendants ADMIT the same.
12
             34.          In answer to the allegations in paragraph 34 of the Second Amended
13

14    Complaint, the Defendants DENY the same.

15           35.          In answer to the allegations in paragraph 35 of the Second Amended
16
      Complaint, the Defendants DENY the same.
17
             36.          In answer to the allegations in paragraph 36 of the Second Amended
18
      Complaint, the Defendants DENY the same.
19
             37.          In answer to the allegations in paragraph 37 of the Second Amended
20

21    Complaint, the Defendants DENY the same.

22           38.          In answer to the allegations in paragraph 38 of the Second Amended
23
      Complaint, the Defendants DENY the same.
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1            39.          In answer to the allegations in paragraph 39 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             40.          In answer to the allegations in paragraph 40 of the Second Amended
4
      Complaint, the Defendants DENY the same.
5
             41.          In answer to the allegations in paragraph 41 of the Second Amended
6

7     Complaint, the Defendants DENY the same.

8            42.          In answer to the allegations in paragraph 42 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             43.          In answer to the allegations in paragraph 43 of the Second Amended
11
      Complaint, the Defendants DENY the same.
12
             44.          In answer to the allegations in paragraph 44 of the Second Amended
13

14    Complaint, the Defendants DENY the same.

15           45.          In answer to the allegations in paragraph 45 of the Second Amended
16
      Complaint, the Defendants ADMIT that Plaintiff was placed on paid
17
      administrative leave but DENY the remaining allegations in this paragraph.
18
             46.          In answer to the allegations in paragraph 46 of the Second Amended
19
      Complaint, the Defendants DENY the same.
20

21           47.          In answer to the allegations in paragraph 47 of the Second Amended

22    Complaint, the Defendants DENY the same.
23

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1            48.          In answer to the allegations in paragraph 48 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             49.          In answer to the allegations in paragraph 49 of the Second Amended
4
      Complaint, the Defendants DENY the same.
5
             50.          In answer to the allegations in paragraph 50 of the Second Amended
6

7     Complaint, the Defendants DENY the same.

8            51.          In answer to the allegations in paragraph 51 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             52.          In answer to the allegations in paragraph 52 of the Second Amended
11
      Complaint, the Defendants DENY the same.
12
             53.          In answer to the allegations in paragraph 53 of the Second Amended
13

14    Complaint, the Defendants DENY the same.

15           54.          In answer to the allegations in paragraph 54 of the Second Amended
16
      Complaint, the Defendants DENY the same.
17
             55.          In answer to the allegations in paragraph 55 of the Second Amended
18
      Complaint, the Defendants DENY the same.
19
             56.          In answer to the allegations in paragraph 56 of the Second Amended
20

21    Complaint, the Defendants DENY the same.

22           57.          In answer to the allegations in paragraph 57 of the Second Amended
23
      Complaint, the Defendants ADMIT the same.
24
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1            58.          In answer to the allegations in paragraph 58 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             59.          In answer to the allegations in paragraph 59 of the Second Amended
4
      Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
5
      does not require a response. To the extent that it may require a response the
6

7     Defendants DENY the same.

8            60.          In answer to the allegations in paragraph 60 of the Second Amended
9
      Complaint, the Defendants DENY the same.
10
             61.          In answer to the allegations in paragraph 61 of the Second Amended
11
      Complaint, the Defendants ADMIT that an email was sent which is self-evident
12
      and DENY the remaining allegations of this paragraph.
13

14           62.          In answer to the allegations in paragraph 62 of the Second Amended

15    Complaint, the Defendants ADMIT the same.
16
             63.          In answer to the allegations in paragraph 63 of the Second Amended
17
      Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
18
      does not require a response. To the extent that it may require a response the
19
      Defendants DENY the same.
20

21           64.          In answer to the allegations in paragraph 64 of the Second Amended

22    Complaint, the Defendants DENY the same.
23

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1            65.          In answer to the allegations in paragraph 65 of the Second Amended
2
      Complaint, the Defendants DENY the same.
3
             66.          In answer to the allegations in paragraph 66 of the Second Amended
4
      Complaint, the Defendants DENY the same.
5
             67.          In answer to the allegations in paragraph 67 of the Second Amended
6

7     Complaint, Plaintiff simply asserts her view of the law, which is incomplete and

8     does not require a response. To the extent that it may require a response the
9
      Defendants DENY the same.
10
             68.          In answer to the allegations in paragraph 68 of the Second Amended
11
      Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
12
      does not require a response. To the extent that it may require a response the
13

14    Defendants DENY the same.

15           69.          In answer to the allegations in paragraph 69 of the Second Amended
16
      Complaint, the Defendants DENY the same.
17
             70.          In answer to the allegations in paragraph 70 of the Second Amended
18
      Complaint, the Defendants DENY the same.
19
             71.          In answer to the allegations in paragraph 71 of the Second Amended
20

21    Complaint, the Defendants DENY the same.

22           72.          In answer to the allegations in paragraph 72 of the Second Amended
23
      Complaint, the Defendants DENY the same.
24
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1             73.          In answer to the allegations in paragraph 73 of the Second Amended
2
       Complaint, the Defendants DENY the same.
3
              74.          In answer to the allegations in paragraph 74 of the Second Amended
4
       Complaint, the Defendants DENY the same including the footnote.
5
              75.          In answer to the allegations in paragraph 75 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8             76.          In answer to the allegations in paragraph 76 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
              77.          In answer to the allegations in paragraph 77 of the Second Amended
11
       Complaint, the Defendants ADMIT the same.
12
              78.          In answer to the allegations in paragraph 78 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15            79.          In answer to the allegations in paragraph 79 of the Second Amended
16
       Complaint, the Defendants ADMIT the same.
17
              80.          In answer to the allegations in paragraph 80 of the Second Amended
18
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
19
       does not require a response. To the extent that it may require a response the
20

21     Defendants DENY the same.

22            81.          In answer to the allegations in paragraph 81 of the Second Amended
23
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
24
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1      does not require a response. To the extent that it may require a response the
2
       Defendants DENY the same.
3
              82.          In answer to the allegations in paragraph 82 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
              83.          In answer to the allegations in paragraph 83 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8             84.          In answer to the allegations in paragraph 84 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
              85.          In answer to the allegations in paragraph 85 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
              86.          In answer to the allegations in paragraph 86 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15            87.          In answer to the allegations in paragraph 87 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
              88.          In answer to the allegations in paragraph 88 of the Second Amended
18
       Complaint, the Defendants DENY the same.
19
              89.          In answer to the allegations in paragraph 89 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22            90.          In answer to the allegations in paragraph 90 of the Second Amended
23
       Complaint, the Defendants DENY the same.
24
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1             91.          In answer to the allegations in paragraph 91 of the Second Amended
2
       Complaint, the Defendants DENY the same.
3
              92.          In answer to the allegations in paragraph 92 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
              93.          In answer to the allegations in paragraph 93 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8             94.          In answer to the allegations in paragraph 94 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
              95.          In answer to the allegations in paragraph 95 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
              96.          In answer to the allegations in paragraph 96 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15            97.          In answer to the allegations in paragraph 97 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
              98.          In answer to the allegations in paragraph 98 of the Second Amended
18
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
19
       does not require a response. To the extent that it may require a response the
20

21     Defendants DENY the same.

22            99.          In answer to the allegations in paragraph 99 of the Second Amended
23
       Complaint, the Defendants ADMIT the same.
24
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1           100.           In answer to the allegations in paragraph 100 of the Second Amended
2
       Complaint, the Defendants ADMIT the same.
3
            101.           In answer to the allegations in paragraph 101 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
            102.           In answer to the allegations in paragraph 102 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           103.           In answer to the allegations in paragraph 103 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
                                                 IV.        CAUSES OF ACTION
11
                  (CAUSE OF ACTION NO. 1 & 2 – VIOLATION OF 29 U.S.C. §
12                    2615(A)(1)-(2) – FAMILY MEDICAL LEAVE ACT –
                           INTERFERENCE & DISCRIMINATION)
13

14          104.           In answer to the allegations in paragraph 104 of the Second Amended

15     Complaint, the Defendants reassert their previous averments.
16
            105.           In answer to the allegations in paragraph 105 of the Second Amended
17
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
18
       does not require a response. To the extent that it may require a response the
19
       Defendants DENY the same.
20

21          106.           In answer to the allegations in paragraph 106 of the Second Amended

22     Complaint, the Defendants ADMIT the same.
23

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1           107.           In answer to the allegations in paragraph 107 of the Second Amended
2
       Complaint, the Defendants ADMIT the same.
3
            108.           In answer to the allegations in paragraph 108 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
            109.           In answer to the allegations in paragraph 109 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           110.           In answer to the allegations in paragraph 110 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
            111.           In answer to the allegations in paragraph 111 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
            112.           In answer to the allegations in paragraph 112 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15          113.           In answer to the allegations in paragraph 113 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
            114.           In answer to the allegations in paragraph 114 of the Second Amended
18
       Complaint, the Defendants DENY the same.
19
            115.           In answer to the allegations in paragraph 115 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22          116.           In answer to the allegations in paragraph 116 of the Second Amended
23
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
24
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1      does not require a response. To the extent that it may require a response the
2
       Defendants DENY the same.
3
            117.           In answer to the allegations in paragraph 117 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
            118.           In answer to the allegations in paragraph 118 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           119.           In answer to the allegations in paragraph 119 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
        (CAUSE OF ACTION NO. 3 – VIOLATION OF WASHINGTON’S WAGE
11                     REBATE ACT – RCW 49.52.050)

12          120.           In answer to the allegations in paragraph 120 of the Second Amended
13
       Complaint, Plaintiff simply asserts her view of the law, which is incomplete and
14
       does not require a response. To the extent that it may require a response the
15
       Defendants DENY the same.
16

17          121.           In answer to the allegations in paragraph 121 of the Second Amended

18     Complaint, the Defendants ADMIT the same.

19          122.           In answer to the allegations in paragraph 122 of the Second Amended
20
       Complaint, the Defendants DENY the same.
21
            123.           In answer to the allegations in paragraph 123 of the Second Amended
22
       Complaint, the Defendants DENY the same.
23

24
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1           124.           In answer to the allegations in paragraph 124 of the Second Amended
2
       Complaint, the Defendants DENY the same.
3
            125.           In answer to the allegations in paragraph 125 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
            126.           In answer to the allegations in paragraph 126 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           127.           In answer to the allegations in paragraph 127 of the Second Amended
9
       Complaint, the Defendants ADMIT the same.
10
            128.           In answer to the allegations in paragraph 128 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
            129.           In answer to the allegations in paragraph 129 of the Second Amended
13

14     Complaint, the Defendants ADMIT the same.

15          130.           In answer to the allegations in paragraph 130 of the Second Amended
16
       Complaint, the Defendants ADMIT the same.
17
            131.           In answer to the allegations in paragraph 131 of the Second Amended
18
       Complaint, the Defendants ADMIT the same.
19
            132.           In answer to the allegations in paragraph 132 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22          133.           In answer to the allegations in paragraph 133 of the Second Amended
23
       Complaint, the Defendants DENY the same.
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1           134.           In answer to the allegations in paragraph 134 of the Second Amended
2
       Complaint, the Defendants ADMIT the same.
3
            135.           In answer to the allegations in paragraph 135 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
            136.           In answer to the allegations in paragraph 136 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           137.           In answer to the allegations in paragraph 137 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
             (CAUSE OF ACTION NO. 4 – EQUAL PAY ACT – RETALIATION)
11
            138.           Plaintiff simply asserts her view of the law, which is incomplete and
12
       does not require a response. To the extent that it may require a response the
13

14     Defendants DENY the same.

15          139.           In answer to the allegations in paragraph 139 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
            140.           In answer to the allegations in paragraph 140 of the Second Amended
18
       Complaint, the Defendants DENY the same.
19
            141.           In answer to the allegations in paragraph 141 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22          142.           In answer to the allegations in paragraph 142 of the Second Amended
23
       Complaint, the Defendants DENY the same.
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1             (CAUSE OF ACTION NO. 5 – VIOLATION OF EQUAL PAY ACT)
2
            143.           Plaintiff simply asserts her view of the law, which is incomplete and
3
       does not require a response. To the extent that it may require a response the
4
       Defendants DENY the same.
5
            144.           In answer to the allegations in paragraph 144 of the Second Amended
6

7      Complaint, the Defendants DENY the same.

8           145.           In answer to the allegations in paragraph 145 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
            146.           In answer to the allegations in paragraph 146 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
            147.           In answer to the allegations in paragraph 147 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15          148.           In answer to the allegations in paragraph 148 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
            149.           In answer to the allegations in paragraph 149 of the Second Amended
18
       Complaint, the Defendants DENY the same.
19
            150.           In answer to the allegations in paragraph 150 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22          151.           In answer to the allegations in paragraph 151 of the Second Amended
23
       Complaint, the Defendants DENY the same.
24
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1                (CAUSE OF ACTION NO. 6 – VIOLATION OF RCW 49.60.210 -
                                   RETALIATION)
2

3           152.           Plaintiff simply asserts her view of the law, which is incomplete and

4      does not require a response. To the extent that it may require a response the

5      Defendants DENY the same.
6
            153.           In answer to the allegations in paragraph 153 of the Second Amended
7
       Complaint, the Defendants DENY the same.
8
            154.           In answer to the allegations in paragraph 154 of the Second Amended
9

10     Complaint, the Defendants DENY the same.

11          155.           In answer to the allegations in paragraph 155 of the Second Amended

12     Complaint, the Defendants DENY the same.
13
             (CAUSE OF ACTION NO. 7 – VIOLATION OF 42 U.S.C. § 1983 – 1ST
14                         AMENDMENT RETALIATION)

15          156.           Plaintiff simply asserts her view of the law, which is incomplete and
16
       does not require a response. To the extent that it may require a response the
17
       Defendants DENY the same.
18
            157.           Plaintiff simply asserts her view of the law, which is incomplete and
19
       does not require a response. To the extent that it may require a response the
20

21     Defendants DENY the same.

22

23

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1           158.           Plaintiff simply asserts her view of the law, which is incomplete and
2
       does not require a response. To the extent that it may require a response the
3
       Defendants DENY the same.
4
            159.           Plaintiff simply asserts her view of the law, which is incomplete and
5
       does not require a response. To the extent that it may require a response the
6

7      Defendants DENY the same.

8           160.           In answer to the allegations in paragraph 160 of the Second Amended
9
       Complaint, the Defendants DENY the same.
10
            161.           In answer to the allegations in paragraph 161 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
            162.           In answer to the allegations in paragraph 162 of the Second Amended
13

14     Complaint, the Defendants DENY the same.

15         (CAUSE OF ACTION NO. 8 – VIOLATION OF 42 U.S.C. § 1983 – 14TH
                         AMENDMENT - DUE PROCESS)
16

17          163.           Plaintiff simply asserts her view of the law, which is incomplete and

18     does not require a response. To the extent that it may require a response the

19     Defendants DENY the same.
20
            164.           In answer to the allegations in paragraph 164 of the Second Amended
21
       Complaint, the Defendants DENY the same.
22

23

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1           165.           Plaintiff simply asserts her view of the law, which is incomplete and
2
       does not require a response. To the extent that it may require a response the
3
       Defendants DENY the same.
4
            166.           In answer to the allegations in paragraph 166 of the Second Amended
5
       Complaint, the Defendants ADMIT the same.
6

7           167.           In answer to the allegations in paragraph 167 of the Second Amended

8      Complaint, the Defendants DENY the same.
9
            168.           In answer to the allegations in paragraph 168 of the Second Amended
10
       Complaint, the Defendants ADMIT the same.
11
            169.           In answer to the allegations in paragraph 169 of the Second Amended
12
       Complaint, the Defendants ADMIT the same.
13

14          170.           In answer to the allegations in paragraph 170 of the Second Amended

15     Complaint, the Defendants ADMIT the same.
16
            171.           In answer to the allegations in paragraph 171 of the Second Amended
17
       Complaint, the Defendants DENY the same.
18
            172.           In answer to the allegations in paragraph 172 of the Second Amended
19
       Complaint, the Defendants DENY the same.
20

21          173.           In answer to the allegations in paragraph 173 of the Second Amended

22     Complaint, the Defendants ADMIT the same.
23

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1           174.           In answer to the allegations in paragraph 174 of the Second Amended
2
       Complaint, the Defendants DENY the same.
3
            175.           In answer to the allegations in paragraph 175 of the Second Amended
4
       Complaint, the Defendants DENY the same.
5
                    (CAUSE OF ACTION NO. 9 – WRONGFUL DISCHARGE IN
6
                              VIOLATION OF PUBLIC POLICY)
7
            176.           Plaintiff simply asserts her view of the law, which is incomplete and
8
       does not require a response. To the extent that it may require a response the
9

10     Defendants DENY the same.

11          177.           Plaintiff simply asserts her view of the law, which is incomplete and

12     does not require a response. To the extent that it may require a response the
13
       Defendants DENY the same.
14
            178.           Plaintiff simply asserts her view of the law, which is incomplete and
15
       does not require a response. To the extent that it may require a response the
16

17     Defendants DENY the same.

18          179.           In answer to the allegations in paragraph 179 of the Second Amended

19     Complaint, the Defendants DENY the same.
20
            180.           In answer to the allegations in paragraph 180 of the Second Amended
21
       Complaint, the Defendants DENY the same.
22
            181.           In answer to the allegations in paragraph 181 of the Second Amended
23

24     Complaint, the Defendants DENY the same.
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1             (CAUSE OF ACTION NO. 10 – VIOLATION OF WASHINGTON’S
                             PUBLIC RECORDS ACT)
2

3           182.           In answer to the allegations in paragraph 182 of the Second Amended

4      Complaint, Plaintiff simply asserts her view of the law which is incomplete and

5      does not require a response. To the extent a response is required Defendants
6
       DENY the same.
7
            183.           In answer to the allegations in paragraph 183 of the Second Amended
8
       Complaint, the Defendants DENY the same.
9

10          184.           Plaintiff simply asserts her view of the law, which is incomplete and

11     does not require a response. To the extent that it may require a response the

12     Defendants DENY the same.
13
            185.           In answer to the allegations in paragraph 185 of the Second Amended
14
       Complaint, the Defendants DENY the same.
15
            186.           In answer to the allegations in paragraph 186 of the Second Amended
16

17     Complaint, the Defendants DENY the same.

18          187.           In answer to the allegations in paragraph 187 of the Second Amended

19     Complaint, the Defendants DENY the same.
20
            188.           In answer to the allegations in paragraph 188 of the Second Amended
21
       Complaint, the Defendants DENY the same.
22
            189.           In answer to the allegations in paragraph 189 of the Second Amended
23

24     Complaint, the Defendants DENY the same.
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1                              (CAUSE OF ACTION NO. 11 – DEFAMATION)
2
            190.           In answer to the allegations in paragraph 190 of the Second Amended
3
       Complaint, the Defendants DENY the same.
4
            191.           In answer to the allegations in paragraph 191 of the Second Amended
5
       Complaint, the Defendants DENY the same.
6

7           192.           In answer to the allegations in paragraph 192 of the Second Amended

8      Complaint, the Defendants DENY the same.
9
                (CAUSE OF ACTION NO. 12 – INTENTIONAL INFLICTION OF
10                             EMOTIONAL DISTRESS)

11          193.           In answer to the allegations in paragraph 193 of the Second Amended

12     Complaint, the Defendants DENY the same.
13
            194.           In answer to the allegations in paragraph 194 of the Second Amended
14
       Complaint, the Defendants DENY the same.
15
            195.           In answer to the allegations in paragraph 195 of the Second Amended
16

17     Complaint, the Defendants DENY the same.

18                   (CAUSE OF ACTION NO. 13 – BREACH OF CONTRACT)
19          196.           In answer to the allegations in paragraph 196 of the Second Amended
20
       Complaint, the Defendants DENY the same.
21
            197.           In answer to the allegations in paragraph 197 of the Second Amended
22
       Complaint, the Defendants DENY the same.
23

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1           198.           In answer to the allegations in paragraph 198 of the Second Amended
2
       Complaint, the Defendants DENY the same.
3
            199.           In answer to the allegations in paragraph 199 of the Second Amended
4
       Complaint, the Defendants ADMIT the same.
5
            200.           In answer to the allegations in paragraph 200 of the Second Amended
6

7      Complaint, the Defendants ADMIT the same.

8           201.           In answer to the allegations in paragraph 201 of the Second Amended
9
       Complaint, the Defendants ADMIT the same.
10
            202.           In answer to the allegations in paragraph 202 of the Second Amended
11
       Complaint, the Defendants DENY the same.
12
            203.           In answer to the allegations in paragraph 203 of the Second Amended
13

14     Complaint, the Defendants ADMIT the same.

15          204.           In answer to the allegations in paragraph 204 of the Second Amended
16
       Complaint, the Defendants DENY the same.
17
            205.           In answer to the allegations in paragraph 205 of the Second Amended
18
       Complaint, the Defendants DENY the same.
19
            206.           In answer to the allegations in paragraph 206 of the Second Amended
20

21     Complaint, the Defendants DENY the same.

22          207.           In answer to the allegations in paragraph 207 of the Second Amended
23
       Complaint, the Defendants DENY the same.
24
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1                                               V.        PRAYER FOR RELIEF
2
                 No response is required to Plaintiff’s prayer for judgment. To the extent that
3
       a response is required, Defendants DENY that Plaintiff is entitled to any relief
4
       pursuant to her complaint.
5
                                                 AFFIRMATIVE DEFENSES
6

7                By way of further answer to Plaintiff’s Second Amended Complaint and in

8      the form of an affirmative defense, Defendants set forth the following:
9
                 1.        Failure to mitigate. Plaintiff has failed to mitigate damages.
10
                 2.        Failure to exhaust remedies.                           Plaintiff has failed to exhaust the
11
       available administrative remedies.
12
                 3.        Failure to state a claim. The Complaint fails to state a claim upon
13

14     which relief can be granted.

15               4.        Frivolous. The complaint is legally frivolous..
16
                 5.        Qualified Privilege. Defendants’ actions are subject to a qualified
17
       privilege and because of the privilege Defendants are not liable to Plaintiff for her
18
       federal claims and her state law defamation claims.
19
                 6.        After Acquired Information.                         After the Plaintiff was hired it was
20

21     discovered that she had misrepresented the truth on her application and in her

22     interviews which, if known by the Defendant at the time, the Defendant would not
23
       have hire the Plaintiff and for which the Defendant would have terminated her
24
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1      from employment.
2
                 7.        Jurisdiction. The Court does not have jurisdiction over the claims
3
       alleging a violation of the Washington State Public Records Act.
4
                 WHEREFORE, Defendants having fully answered Plaintiff’s Second
5
       Amended Complaint herein, pray that the same be dismissed with prejudice and
6

7      held for naught, Defendants be awarded attorney fees, costs and disbursements

8      herein, and for any further relief deemed just and equitable by the Court.
9
                 DATED this 12th day of September, 2018.
10
                                                           JERRY MOBERG & ASSOCIATES, PS
11

12
                                                                 s/ Jerry J. Moberg
13
                                                           JERRY J. MOBERG, WSBA No. 5282
14                                                         Attorney for Defendants

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     Case 1:18-cv-03073-TOR                   ECF No. 13            filed 09/12/18      PageID.208 Page 28 of 28



1                                              CERTIFICATE OF SERVICE
2                I hereby certify that I electronically filed the foregoing with the Clerk of

3       the Court using the CM/ECF System which will send notification of such filing
4
        to the following:
5
                           Matthew Z. Crotty
6                          Crotty & Son Law Firm, PLLC
                           905 West Riverside, Suite 404
7                          Spokane, WA 99201
8
                           matt@crottyandson.com

9      AND TO:

10                         Michael B. Love
                           Michael Love Law Firm, PLLC
11
                           905 West Riverside, Suite 409
12                         Spokane, WA 99201
                           mike@michaellovelaw.com
13
                 DATED this 12th day of September, 2018 at Ephrata, WA.
14

15
                                                           JERRY MOBERG & ASSOCIATES, P.S.

16
                                                           s/ Jerry J. Moberg
17                                                         JERRY J. MOBERG, WSBA No. 5282
                                                           Attorney for Defendants
18

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